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                        EXHIBIT A
                         Case 2:22-cv-03204-ER Document 1-1 Filed 08/11/22 Page 2 of 30

       Court of C;ommon Pleas of Yhiladelphia County                                                    - or--Prothonota     - Onl
                                                                                                                           Use       Docke -Number        --     -   -
                      Trial Division
                                                                                                   JLM 2022
                       Civil Cover Sheet                                           `-E-FIIIngNumber. 2206053820-                              0    02'483
PLAINTIFPS NAME                                                                     DEFENDANTS NAME
    JAMES E. DOUGHERTY                                                                 A.O. SMITH WATER PRODUCTS COMPANY

PLAINTIFF'S ADDRESS                                                                 DEFENDANTS ADDRESS
    1466 DAY HOLLOW ROAD                                                               11270 WEST PARK PLACE
    OWEGO NY 13827                                                                     MILWAUKEE WI 53224


PLAINTIFF'S NAME                                                                    DEFENDANT'S NAME
    MICHELE A. DOUGHERTY                                                               ABB, INC.

PLAINTIFF'S ADDRESS                                                                 DEFENDANT'S ADDRESS
    1466 DAY HOLLOW ROAD                                                               C/0 CT CORPORATION SYSTEM 160 MINE LAKE ST.,
    OWEGO NY 13827                                                                     SUITE 200
                                                                                       RALEIGH NC 27615

PLAINTIFF'S NAME                                                                    DEFENDANTS NAME
                                                                                       ALFA LAVAL INC.

PLAINTIFPS ADDRESS                                                                  DEFENDANTS ADDRESS
                                                                                       C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET,
                                                                                       STE 401
                                                                                       HARRISBURG PA 17101

TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS               COMMENCEMENT OF ACTION
                                                                        ~' ® Coinplaint                  ❑ Petition Action                 ❑      Notice of Appeal
                   2                               52
                                                                            ❑     Writ of Sununons       ❑ Transfer From Other Jurisdictions
AMOUNTIN CONTROVERSY          COURT PROGRAMS              -                                                   ,
                              ❑    Arbitration                ® -Mass Tort lr;: .: ,                    ❑ Conimerce                       ❑       Settlement
❑ $50,000.00 or less          ❑    Jury                       ❑ .Sav_irigs'Acfiori=: '                  ❑ Minor Court Appeal              ❑       Minors
® More than $50,000.00        ❑    Non-Jury,                  ❑ ` Petition'      __                     ❑ --Statutory Appeals             ❑       W/D/Survival
                              ❑    Other:
CASE TYPE AND CODE

    T1 - MASS TORT - ASBESTOS.
                                             __ . ..    - , -     _   :;.       ='~.,• -     , .          _         ,

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                               IS CASE SUBJECT TO
                                                                                    FILM
                                                                                pS~M1 ~fp~!~       y~                        COORDINATION ORDER?
                                                                            ~ 1'lV F'i1       iF! f                                      YES             NO

                                                                       JUN 27 2022
                                                                            A. STAMATO

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: JAMES E DOUGHERTY , MICHELE A
                                                                        DOUGHERTY
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANTS ATTORNEY                                ADDRESS

    JASON P. YAMPOLSKY                                                                230 S BROAD ST
                                                                                      SUITE 1010
PHONENUMBER                             FAXNUMBER                                      PHILADELPHIA PA 19102
    (800)358-5922                       (314)241-4838

SUPREME COURT IDENTIFICATION NO.                                                    E-MAIL ADDRESS

    324961                                                                            jyampolsky@mrhfmlaw.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                               DATE SUBMITTED

    JASON YAMPOLSKY                                                                    Monday, June 27, 2022, 05:39 pm

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
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COMPLETE LIST OF DEFENDANTS:
    1. A.O. SMITH WATER PRODUCTS COMPANY
         11270 WEST PARK PLACE
         MILWAUKEE WI 53224
    2. ABB, INC.
         C/0 CT CORPORATION SYSTEM 160 MINE LAKE ST., SUITE 200
         RALEIGH NC 27615
    3. ALFA LAVAL INC.
         C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
         HARRISBURG PA 17101
    4. AMETEK, INC. INDIVIDUALLY AND AS SUCCESSOR TO SCHUTTE & KOER
         C/OCORPORATION SERVICE COMPANY 80 STATE STREET
         ALBANY NY 12207
    5. AMITROL, INC. INDIVIDUALLY AND AS SUCCESSOR TO THRUST PRODUC
         C/0 CT CORPORATION SYSTEM 450 VETERAN MEMORIAL PARKWAY SUITE 7A
         EAST PROVIDENCE RI 02914
    6. ARMSTRONG INTERNATIONAL, INC.
         900 MAPLE STREET
         THREE RIVERS MI 49093
    7. AURORA PUMP COMPANY
         C/O SPX CORPORATION 6325 ARDREY KELL ROAD
         CHARLOTTE NC 28277
    8. BLACKMER
         1809 CENTURY AVENUE SW
         GRAND RAPIDS MI 49503
    9. BW/IP, INC., AND ITS WHOLLY-OWNED SUBSIDIARIES
         5215 NORTH 0'CONNELL BLVD SUITE 2300
         IRVING TX 75039
    10. CARRIER CORPORATION
         C/O UNITED AGENT GROUP INC. 1001 STATE STREET, #1400
         ERIE PA 16501
    11. CLEAVER-BROOKS, INC.
         C/OCORPORATION SERVICE COMPANY 251 LITTLE FALLS DRIVE
         WILMINGTON DE 19808
    12. CROSBY VALVE, LLC
         C/0 CT CORPORATION SYSTEM 155 FEDERAL ST. SUITE 700
         BOSTON MA 02110
    13. DCO, LLC, F/K/A DANA COMPANIES, INDIVIDUALLY AND AS SUCCESSO
         C/0 CT CORPORATION SYSTEM 4701 COX RD., SUITE 285
         GLEN ALLEN VA 23060
    14. EATON CORPORATION, AS SUCCESSOR-IN-INTEREST TO EATON ELECTRI
         C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
         HARRISBURG PA 17101
    15. ELECTROLUX HOME PRODUCTS, INC., AS SUCCESSOR-IN-INTEREST TO
         C/0 CT CORPORATION SYSTEM 28 LIBERTY STREET
         NEW YORK NY 10005
    16. ELLIOT COMPANY
         C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
         HARRISBURG PA 17101
    17. FEDERAL MOGUL ASBESTOS PERSONAL INJURY TRUST, AS SUCCESSOR T
         C/0 WILMINGTON TRUST SP SERVICES, INC. 1105 N. MARKET ST., STE 1300
         WILMINGTON DE 19801
    18. FIVES GIDDINGS & LEWIS, LLC
         C/0 CT CORPORATION SYSTEM 301 S. BEDFORD STREET, STE 1
         MADISON WI 53703
    19. FLOWSERVE U.S., INC., SOLELY AS SUCCESSOR TO ROCKWELL MANUFA
         C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
         HARRISBURG PA 17101
    20. FLOWSERVE U.S., INC. F/K/A THE DURIRON COMPANY, INC.
         C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
         HARRISBURG PA 17101
    21. FMC CORPORATION, ON BEHALF OF ITS FORMER CHICAGO PUMP, PEERL
         C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
         HARRISBURG PA 17101
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     22. FOSTER WHEELER, LLC SURVIVOR TO A MERGER WITH FOSTER WHEELER
          C/0 UNITED AGENT GROUP INC. 3411 SILVERSIDE ROAD #104 TATNALL BUILDING
          WILMINGTON DE 19810
     23. GARDNER DENVER, INC.
          C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
          HARRISBURG PA 17101
     24. GENERAL DYNAMICS CORPORATION
          C/0 THE CORPORATION TRUST COMPANY 1209 ORANGE STREET
          WILMINGTON DE 19801
     25. GENERAL ELECTRIC COMPANY
          C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
          HARRISBURG PA 17101
     26. GOULD ELECTRONICS, INC.
          C/O CT CORPORATION SYSTEM 3800 N. CENTRAL AVE, STE 460
          PHOENIX AZ 85102
     27. GOULDS PUMPS LLC
          C/O CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
          HARRISBURG PA 17101
     28. GRINNELL, LLC
          C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
          HARRISBURG PA 17101
     29. HENRY TECHNOLOGIES, INC., F/K/A HENRY VALVE COMPANY
          C/O ILLINOIS CORPORATION SERVICE COMPANY 801 ALDAI STEVENSON DR.
          SPRINGFIELD IL 62703
     30. HONEYWELL INTERNATIONAL, INC. F/K/A ALLIEDSIGNAL, INC., AS S
          C/OCORPORATION SERVICE COMPANY 2595 INTERSTATE DRIVE, STE 103
          HARRISBURG PA 17110
     31. IMO INDUSTRIES, INC.
          C/O CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
          HARRISBURG PA 17101
     32. ITT LLC F/K/A ITT CORP., BELL & GOSSETT CO., FOSTER ENGINEER
          C/O CT CORPORATION SYSTEM 28 LIBERTY STREET
          NEW YORK NY 10005
     33. LEBLOND LTD.
          C/0 CALFEE, HALTER & GRISWOLD LLP, ATTN: JENNIFER L. WHITT 1405 EAST 6TH
STREET
          CLEVELAND OH 44114
     34. METROPOLITAN LIFE INSURANCE COMPANY
          C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
          HARRISBURG PA 17101
     35. PAR SYSTEMS, LLC
          C/0 NATIONAL REGISTERED AGENTS INC. 1010 DALE ST. N.
          ST. PAUL MN 55117
     36. PARAMOUNT GLOBAL, F/K/A VIACOMCBS INC., F/K/A CBS CORPORATIO
          C/OCORPORATION SERVICE COMPANY 2595 INTERSTATE DRIVE, STE 103
          HARRISBURG PA 17110
     37. REDCO CORPORATION FORMERLY KNOWN AS CRANE CO.
          C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
          HARRISBURG PA 17101
     38. ROBERTSHAW CONTROLS COMPANY
          C/0 REGISTERED AGENT SOLUTIONS INC. 838 WALKER RD., STE 21-2
          DOVER DE 19904
     39. SPIRAX SARCO, INC.
          C/0 CT CORPORATION SYSTEM 600 NORTH 2ND STREET, STE 401
          HARRISBURG PA 17101
     40. TACO, INC.
          C/OCORPORATION SERVICE COMPANY 222 JEFFERSON BOULEVARD SUITE 200
          WARWICK RI 02888
     41. THE GOODYEAR TIRE & RUBBER COMPANY
          C/OCORPORATION SERVICE COMPANY 80 STATE STREET
          ALBANY PA 12207
     42. THE J.R. CLARKSON COMPANY, SUCCESSOR BY MERGER TO KUNKLE IND
          C/0 CT CORPORATION SYSTEM 701 S. CARSON ST., STE 200
          CARSON CITY NV 89701
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43. THE NASH ENGINEERING COMPANY
     C/0 CT CORPORATION SYSTEM GOODWIN SQUARE, 225 ASYLUM ST. 20TH FLOOR
     HARTFORD CT 06103
44. VALVES AND CONTROLS US, INC., F/K/A WEIR VALVES & CONTROLS U
     C/0 CT CORPORATION SYSTEM 28 LIBERTY STREET
     NEW YORK NY 10005
45. VELAN VALVE CORPORATION
     94 AVENUE C
     WILLISTON VT 05495
46. WARREN PUMPS LLC
     C/0 CT CORPORATION SYSTEM 1209 ORANGE STREET
     WILMINGTON DE 19801
47. WATTS REGULATER C0.
     C/0 CT CORPORATION SYSTEM 155 FEDERAL ST. SUITE 700
     BOSTON MA 02110
48. WATTS WATER TECHNOLOGIES, INC.
     C/0 CT CORPORATION SYSTEM 155 FEDERAL ST. SUITE 700
     BOSTON MA 02110
49. YORK INTERNATIONAL CORPORATION
     C/0 CT CORPORATION SYSTEM 301 S. BEDFORD STREET, STE 1
     MADISON WI 53703
50. ZURN INDUSTRIES, LLC
     C/0 CT CORPORATION SYSTEM 28 LIBERTY STREET
     NEW YORK NY 10005
51. AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR-BY-MERGER TO BUF
     C/OCORPORATION SERVICE COMPANY 2595 INTERSTATE DRIVE, STE 103
     HARRISBURG PA 17110
52. THE NASH ENGINEERING COMPANY
     C/O CT CORPORATION SYSTEM GOODWIN SQUARE, 225 ASYLUM ST. 20TH FLOOR
     HARTFORD CT 06103
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       IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
               FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                        TRIAL DIVISION - CIVIL

        DOUGHERTY ETAL VS A.O.                            2022     TERM     JUNE
         SMITH WATER PRODUCTS
             COMPANY ETAL                                   No. 02483


        IN RE: ASBESTOS LITIGATION - OCTOBER TERM 1986, NO. 0001

                  MASTER CASE MANAGEMENT ORDER FOR
                ASBESTOS-RELATED PERSONAL INJURY CLAIMS


    It is the goal of this Court to secure the just, expeditious and cost-effective determination
of each personal injury case involving exposure to asbestos or asbestos-containing products
pending or hereafter filed in the Court of Common Pleas of Philadelphia County to eliminate
duplication of effort, prevent unnecessary paperwork and promote judicial economy.
    In order to achieve these objectives, this lst day of December, 2010, the Court enters the
following Case Management Order for personal injury cases involving exposure to asbestos
or asbestos-containing products.
    This Case Management Order supersedes all prior Case Management Orders entered in
the Asbestos Litigation and shall apply to all cases currently pending and hereafter filed in
this Court.

I.    PLEADINGS
    A. Short Form Complaints
    A Short Form Complaint shall be filed and served in every case in accordance with the
Pennsylvania Rules of Civil Procedure. Plaintiffs may incorporate by reference the Master
Long Form Complaints filed on the above-captioned docket.
    The Short Form Complaint shall contain the information required by Philadelphia Civil
Rule *1019.1(B), to the extent consistent with the Pennsylvania Rules of Civil Procedure.
    A Short Form Coinplaint that contains preinises liability claims shall include the name
and address of each work site in which the plaintiff alleges exposure to asbestos and the
dates during which the plaintiff or the decedent worked at each such worlc site.
    B. Preliminary Objections
    In response to each Short Form Complaint, the defendant may file preliminary objections,
if deemed appropriate, in accordance with the Pennsylvania Rules of Civil Procedure and
Philadelphia Civil Rule *1028. The preliminary objections shall be filed in letter brief
format rather than motion package format. Its caption must specify "Asbestos Litigation"
and name opposing counsel. Facts, issues and pertinent case law should be included. Each
motion must include a proposed order.
    C. Answers to Complaints
    Defendant's answers to complaints are governed by Rule 1041.1 of the Pennsylvania
Rules of Civil Procedure.



                                                                                          Mzdrasbes 2/9/2016
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II.   GIFFEAR DOCKET
   Cases that do not state a valid claim pursuant to Giffear v. Johns-Manville Corp., 632
A.2d 880 (Pa.Super. 1993), affd sub nom. Simmons v. Pacor, Inc., 674 A.2d 232 (Pa.1996),
shall be placed on an inactive docket.
   To reactivate a case which has been discontinued pursuant to Giffear, a Motion to
Reactivate must be filed and include all necessary medical reports supporting said motion.
The inotion shall be filed in letter brief format consistent with the Mass Tort Motion
procedures.

III. DISCOVERY
   The following deadlines shall apply for the completion of discovery and the exchange of
expert reports:
180 Days prior to jury selection-
Plaintiffs shall serve answers to Defendants' Master Interrogatories and Requests for
Production Directed to Plaintiffs, including information relating to Bankruptcy Trust Filings.


Plaintiffs shall forward the identification of all health care providers along with addresses to
defense counsel and RecordTrak.

Plaintiffs shall forward HIPAA coinpliant authorizations signed by plaintiffs to RecordTrak.

120 days prior to jury selection-

Plaintiffs shall serve medical, economic and liability expert reports.

Plaintiffs shall produce to lead defense counsel all diagnostic materials in the possession of
plaintiffs or their counsel and all diagnostic material reviewed by plaintiffs' experts. This
includes, but is not limited to, x-rays, CT scans, pathology and cytology.

Plaintiffs shall serve product identification witness lists identifying the defendants the
witnesses are expected to identify.

100 days prior to jury scicction-- Completion of plaintiffs' depositions.

90 days prior to jury selection-- Completion of all co-worker depositions.

45 days prior to jury selection-- Defendants shall serve medical and economic expert
reports.

10 days prior to jury selection--Defendants shall serve expert liability reports.


IV.   STIPULATIONS OF DISMISSAL

   1. If a plaintiff has agreed to stipulate to the dismissal of a defendant, the defendant
(hereinafter the "Stipulated Defendant") shall prepare a Stipulation of Dismissal.
   2. The Stipulated Defendant shall circulate the Stipulation of Dismissal to all defense

                                                                                             \Xzdrasbes 2/9/2016
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counsel by letter, stating that any party has ten (10) days from the date of the letter to object
to the dismissal of the Stipulated Defendant.
    3. If a party objects to the dismissal of the Stipulated Defendant, the objecting party
shall notify the Stipulated Defendant in writing of the basis for the objection.
    4. If, after the expiration of the ten (10) day period, no objections are received by the
Stipulated Defendant, the Stipulation of Dismissal may be electronically filed with the Court
as unopposed.
    5. The package electronically filed with the Court shall include the signed Stipulation
of Dismissal and a cover letter stating no objections have been raised within the ten (10) day
period.
    6. Service of the Court-approved Stipulation of Dismissal shall be effectuated via the
Court's electronic filing system on all parties of record.

V.    MOTION PRACTICE AND PROCEDURE
   All summary judgment motions shall be filed in accordance with the Revised Asbestos
Summary Judgment Motion Procedures, a copy of which is attached hereto. In addition, to
prevent the filing of unnecessary motions, five (5) days prior to the deadline for filing
summary judgment motions (or 85 days prior to jury selection) Plaintiffs' counsel are to
serve upon all parties to a case, a'Dismissal Letter' indicating all defendants which Plaintiff
will voluntarily dismiss from that case.
   All other inotions, including motions for forum non conveniens, inotions to amend
complaints, inotions to compel, inotions to enforce settlements, etc., shall be filed in
accordance with the Revised Mass Tort Motion Procedures, a copy of which is attached
hereto.

VI. TRIAL SCIIEDULING
   The dates for all scheduled trials will be published each Monday in The Legal
Intelligencer.

VII. DEADLINES FOR CASES THAT MOVE TO NEW TRIAL GROUPS
    If any case is moved, with the consent of the Court, from its original trial group to a later
trial group, all discovery and motions deadlines for the later group will apply. Any summary
judgment motions filed prior to moving the case will be considered moot and must be re-
filed iti accordance wilh the deadlines for lhe group lo which lhe case has been moved,
except for cases where the motion deadline for the new group has already passed at the time
the case is moved. For those cases, motions will remain open and need not be re-filed.
Those motions remaining open shall be decided by the Coordinating Judge in accordance
with the deadlines for the new group.

VIII. CALL OF TIIE LIST
    A brief call of the asbestos list will be conducted every Monday at 11:00 a.m. The Court
will conduct general asbestos business and call those cases listed for trial for the following
month.Knowledgeable representatives of each party involved in the next month's scheduled
trials shall attend.
    A meeting of the Asbestos Kitchen Cabinet will be conducted on the first Monday of each
month, following the call of the list.

IX.   SANCTIONS

                                                                                           \lzdrasbas 2/9/2016
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    Failure to comply with any deadlines set forth in the Case Management Order may result
in the imposition of appropriate sanctions, including dismissal.



                                                  BY THE COURT:

                                                  ARNOLD L. NEW
                                                  TEAM LEADER




                                                                                     \\zdrasbes 219/2016
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MAUNE RAICHLE HARTLEY                                          F'iled
FRENCH & MUDD, LLC                                            Office
By: Jason Yampolsky, Esquire                                      27
Identification No. 324961
230 S. Broad Street, Suite 1010
Philadelphia, PA 19102
(800) 358-5922

Attorneys for Plaintiffs

                                              :       COURT OF COMMON PLEA
JAMES EDWARD DOUGHERTY, III, and              :
MICHELE A. DOUGHERTY, his wife                :       PHILADELPHIA COUNTY
1466 Day Hollow Road
Owego, NY 13827                               :       JUNE TERM, 2022

                           Plaintiffs,        :       NO.

              vs.                             :
                                                      ASBESTOSCASE
A.O. SMITH WATER PRODUCTS COMPANY :
et al.,
                                                      JURY TRIAL DEMANDED
                           Defendants.        :


                                     SHERIFF'S LIST

AIR & LIQUID SYSTEMS CORPORATION,                                DAUPHIN COUNTY
successor-by-merger to Buffalo Pumps, Inc.
c/o Corporation Service Company
2595 Interstate Drive Suite 103
Harrisburg, PA 17110

ALFA LAVAL INC.                                                  DAUPHIN COUNTY
c/o CT Corporation System
600 North 2nd Street, Suite 401
Harrisburg, PA 17101

CARRIER CORPORATION                                                     ERIE COUNTY
c/o United Agent Group Inc.
1001 State Street, #1400
Erie, PA 16501




                                                                             Case ID: 220602483
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CLEAVER-BROOKS, INC., f/k/a Cleaver-Brooks,              DAUPHIN COUNTY
a division of Aqua-Chem, Inc.
c/o Corporation Service Company
2595 Interstate Drive, Suite 103
Harrisburg, PA 17110

EATON CORPORATION, as successor-in-interest              DAUPHIN COUNTY
to Eaton Electrical, Inc., Cutler-Hammer, Inc., and
the Wright-Austin Company
c/o CT Corporation System
600 North 2nd Street, Suite 401
Harrisburg, PA 17101

ELLIOTT COMPANY                                          DAUPHIN COUNTY
c/o CT Corporation System
600 North 2nd Street, Suite 401
Harrisburg, PA 17101

FLOWSERVE U.S., INC., as successor in                    DAUPHIN COUNTY
interest to Durametallic Corporation, Rockwell
Manufacturing Company, Edward Valves, Inc.,
Nordstrom Valves, Inc., and Edward Vogt -
Valve Company
c/o CT Corporation System
600 North 2nd Street, Suite 401
Harrisburg, PA 17101

FLOWSERVE U.S., INC. F/K/A/ THE DURIRON                  DAUPHIN COUNTY
COMPANY, INC.
c/o CT Corporation System
600 North 2nd Street, Suite 401
Harrisburg, PA 17101

FMC CORPORATION, on behalf of its former                 DAUPHIN COUNTY
Chicago Pump, Peerless Pump and Northern
Pump Businesses
c/o CT Corporation System
600 North 2nd Street, Suite 401
Harrisburg, PA 17101

GARDNER DENVER, INC.                                     DAUPHIN COUNTY
c/o CT Corporation System
600 North 2°d Street, Suite 401
Harrisburg, PA 17101




                                                                     Case ID: 220602483
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GENERAL ELECTRIC COMPANY                                  DAUPHIN COUNTY
c/o CT Corporation System
600 North 2nd Street, Suite 401
Harrisburg, PA 17101

GOODRICH CORPORATION f/k/a The BF                         DAUPHIN COUNTY
Goodrich Company
c/o CT Corporation System
600 North 2"d Street, Suite 401
Harrisburg, PA 17101

GOULDS PUMPS LLC                                          DAUPHIN COUNTY
c/o CT Corporation System
600 North 2nd Street, Suite 401
Harrisburg, PA 17101

GRINNELL, LLC                                             DAUPHIN COUNTY
c/o CT Corporation System
600 North 2"d Street, Suite 401
Harrisburg, PA 17101

HONEYWELL INTERNATIONAL, INC., f/k/a                      DAUPHIN COUNTY
A11iedSignal, Inc., as successor-in-interest to The
Bendix Corporation, Cincinnati Milling Machine
Company, and Warner & Swasey Company
c/o Corporation Service Company
2595 Interstate Drive, Suite 103
Harrisburg, PA 17110

IMO INDUSTRIES, INC., Individually and as                 DAUPHIN COUNTY
successor-in-interest DeLaval Turbine Inc.
c/o CT Corporation System
600 North 2"d Street, Suite 401
Harrisburg, PA 17101

PARAMOUNT GLOBAL, f/k/a ViacomCBS Inc.,                   DAUPHIN COUNTY
f/k/a CBS Corporation, a Delaware corporation,
f/k/a/ Viacom Inc., successor by merger to CBS
Corporation, a Pennsylvania corporation, f/k/a
Westinghouse Electric Corporation
c/o Corporation Service Company
2595 Interstate Drive, Suite 103
Harrisburg, PA 17110




                                                                     Case ID: 220602483
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REDCO CORPORATION formerly known                         DAUPHIN COUNTY
as Crane Co.
c/o CT Corporation System
600 North 2nd Street, Suite 401
Harrisburg, PA 17101

SPIRAX SARCO, INC.                                       DAUPHIN COUNTY
c/o CT Corporation System
600 North 2nd Street, Suite 401
Harrisburg, PA 17101




                                                                    Case ID: 220602483
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MAUNE RAICHLE IIARTLEY
FRENCH & MUDD, LLC
By: Jason Yampolsky, Esquire
Identification No. 324961
230 S. Broad Street, Suite 1010
Philadelphia, PA 19102
(800) 358-5922

Attorneys for Plaintiffs

                                             :      COURT OF COMMON PLEA
JAMES EDWARD DOUGHERTY, III, and
MICHELE A. DOUGHERTY, his wife                      PHILADELPHIA COUNTY
1466 Day Hollow Road
Owego, NY 13827                              :      JUNE TERM, 2022

                            Plaintiffs,      :       NO.

              vs.
                                                    ASBESTOSCASE
A.O. SMITH WATER PRODUCTS COMPANY :
et al.,                           :
                                                    JURY TRIAL DEMANDED
                            Defendants.


                                   DEFENDANTS' LIST

 A.O SMITH WATER PRODUCTS                  GOULD ELECTRONICS, INC.
 COMPANY                                   c/o CT Corporation System
 11270 West Park Place                     3800 N Central Avenue, Suite 460
 Milwaukee, WI 53224                       Phoenix, AZ 85012

 ABB, INC.                                 GOULDS PUMPS LLC
 c/o CT Corporation System                 c/o CT Corporation System
 160 Mine Lake Ct, Suite 200               600 North 2nd Street, Suite 401
 Raleigh, NC 27615                         Harrisburg, PA 17101

 ALFA LAVAL INC.                           GRINNELL, LLC
 c/o CT Corporation System                 c/o CT Corporation System
 600 North 2°d Street, Suite 401           600 North 2°d Street, Suite 401
 Harrisburg, PA 17101                      Harrisburg, PA 17101




                                                                              Case ID: 220602483
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AIR & LIQUID SYSTEMS                      HENRY TECHNOLOGIES, INC., f/k/a
CORPORATION, successor-by-merger to       Henry Valve Company
Buffalo Pumps, Inc.                       c/o Illinois Corporation Service Company
c/o Corporation Service Company           801 Adlai Stevenson Drive
2595 Interstate Drive Suite 103           Springfield, IL 62703
Harrisburg, PA 17110
                                          HONEYWELL INTERNATIONAL, INC.,
AMETEK, INC., individually and as         f/k/a A11iedSignal, Inc., as successor-in-
successor to Schutte & Koerting           interest to The Bendix Corporation,
c/o Corporation Service Company           Cincinnati Milling Machine Company, and
80 State Street                           Warner & Swasey Company
Albany, NY 12207-2543                     c/o Corporation Service Company
                                          2595 Interstate Drive, Suite 103
AMTROL, INC., Individually and as         Harrisburg, PA 17110
successor to Thrush Products, Inc.
c/o CT Corporation System                 IMO INDUSTRIES, INC.
450 Veterans Memorial Parkway, Suite 7A   c/o CT Corporation System
East Providence, RI 02914                 600 North 2nd Street, Suite 401
                                          Harrisburg, PA 17101
ARMSTRONG INTERNATIONAL, INC.
900 Maple Street                          ITT LLC f/k/a ITT Corp., Bell & Gossett
Three Rivers, MI 49093                    Co., Foster Engineering, Kennedy Valve
                                          Mfg. Co., Inc., Lawler Automatic Controls,
AURORA PUMP COMPANY                       Inc., and Hoffman Specialty
c/o SPX Corporation -                     Manufacturing Co.
6325 Ardrey Kell Road                     c/o CT Corporation System
Charlotte, NC 28277                       28 Liberty Street
                                          New York, NY 10005
BLACKMER
1809 Century Avenue SW                    LEBLOND LTD.
Grand Rapids, MI 49503                    c/o Calfee, Halter & Griswold LLP
                                          Attn: Jennifer L. Whitt
BW/IP, INC. and Its Wholly-Owned          1405 East 6th Street
Subsidiaries                              Cleveland, OH 44114
5215 North O'Connor Blvd, Suite 2300
Irving, TX 75039                          METROPOLITAN LIFE INSURANCE
                                          COMPANY
CARRIER CORPORATION                       c/o CT Corporation System
c/o United Agent Group Inc.               600 North 2nd Street, Suite 401
1001 State Street, #1400                  Harrisburg, PA 17101
Erie, PA 16501
                                          PAR SYSTEMS, LLC
CLEAVER-BROOKS, INC.                      c/o National Registered Agents, Inc.
c/o Corporation Service Company           1010 Dale St. N.
251 Little Falls Drive                    St. Paul, MN 55117
              DE 19808



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CROSBY VALVE, LLC                           PARAMOUNT GLOBAL, f/k/a
c/o CT Corporation System                   ViacomCBS Inc., f/k/a CBS Corporation, a
155 Federal St. Suite 700                   Delaware corporation, f/k/a/ Viacom Inc.,
Boston, MA 02110                            successor by merger to CBS Corporation, a
                                            Pennsylvania corporation; f/k/a
DCO, LLC, f/k/a Dana Companies,             Westinghouse Electric Corporation
Individually and successor-in-interest to   c/o Corporation Service Company
Victor Gasket Manufacturing Company         2595 Interstate Drive, Suite 103
and Spicer Parts                            Harrisburg, PA 17110
c/o CT Corporation System
4701 Cox Rd., Suite 285                     REDCO CORPORATION formerly
Glen Allen, VA 23060                        known as Crane
                                            Co.
EATON CORPORATION, as successor-in- c/o CT Corporation System
interest to Eaton Electrical, Inc., Cutler- 600 North 2nd Street, Suite 401
Hammer, Inc., and the Wright-Austin         Harrisburg, PA 17101
Company
c/o CT Corporation System                   ROBERTSHAW CONTROLS
600 North 2nd Street, Suite 401             COMPANY
Harrisburg, PA 17101                        c/o Registered Agent Solutions Inc.
                                            838 Walker Road, Suite 21-2
ELECTROLUX HOME PRODUCTS,                   Dover, DE 19904
INC:, as successor-in-interest to Copes-
Vulcan                                      SPIRAX SARCO, INC.
c/o CT Corporation System                   c/o CT Corporation System
28 Liberty Street                           600 North 2nd Street, Suite 401
New York, NY 10005                          Harrisburg, PA 17101

ELLIOTT COMPANY                             TACO, INC.
c/o CT Corporation System                   c/o Corporation Service Company
600 North 2nd Street, Suite 401             222 Jefferson Boulevard, Suite 200
Harrisburg, PA 17101                        Warwick, RI 02888

FEDERAL MOGUL ASBESTOS                      THE GOODYEAR TIRE & RUBBER
PERSONAL INJURY TRUST, as                   COMPANY
Successor to Felt Products Manufacturing    c/o Corporation Service Company
Co.                                         80 State Street
c/o Wilmington Trust SP Services, Inc.      Albany, NY 12207
1105 N. Market Street, Suite 1300
Wilmington, DE 19801                        THE J.R. CLARKSON COMPANY,
                                            successor by merger to Kunkle Industries,
FIVES GIDDINGS & LEWIS, LLC                 Inc., and J.E. Lonergan Company
c/o CT Corporation System                   c/o CT Corporation System
301 S Bedford Street, Suite 1               701 S Carson Street, Suite 200
Madison, WI 53703                           Carson City, NV 89701




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FLOWSERVE U.S., INC., solely as            THE NASH ENGINEERING COlVIPANY
successor to Rockwell Manufacturing        c/o CT Corporation System
Company, Edward Valves, Inc., Nordstrom    Goodwin Square, 225 Asylum Street, 20th
Valves, Inc., and Edward Vogt Valve        Floor
Company                                    Hartford, CT 06103
c/o CT Corporation System
600 North 2nd Street, Suite 401            VALVES AND CONTROLS US, INC.,
Harrisburg, PA 17101                       f/k/a Weir Valves & Controls USA, Inc.,
                                           f/k/a Atwood & Morrill Co., Inc.
FLOWSERVE U.S., INC. F/K/A THE             c/o CT Corporation System
DURIRON COMPANY, INC.                      28 Liberty Street
c/o CT Corporation System                  New York, NY 10005
600 North 2nd Street, Suite 401
Harrisburg, PA 17101                       VELAN VALVE CORPORATION
                                           94 Avenue C
FMC CORPORATION, on behalf of its          Williston, VT 05495
former Chicago Pump, Peerless Pump and
Northern Pump Businesses                   WARREN PUMPS LLC
c/o CT Corporation System                  c/o CT Corporation System
600 North 2nd Street, Suite 401            1209 Orange Street
Harrisburg, PA 17101                       Wilmington, DE 19801

FOSTER WHEELER, LLC                        WATTS REGULATER CO.
Survivor to a merger with Foster Wheeler   c/o CT Corporation System
Corporation                                155 Federal Street, Suite 700
c/o United Agent Group, Inc.               Boston, MA 02110
3411 Silverside Road, #104 Tatnall
Building                                   WATTS WATER TECHNOLOGIES,
Wilmington, DE 19810                       INC.
                                           c/o CT Corporation System
GARDNER DENVER, INC.                       155 Federal Street, Suite 700
c/o CT Corporation System                  Boston, MA 02110
600 North 2nd Street, Suite 401
Harrisburg, PA 17101                 YORK INTERNATIONAL
                                     CORPORATION
GENERAL    DYNAMICS      CORPORATION c/o CT Corporation System
c/o The Corporation Trust Company    301 S. Bedford Street, Suite 1
1209 Orange Street                   Madison, WI 53703
Wilmington, DE 19801
                                     ZURN INDUSTRIES, LLC
GENERAL ELECTRIC COMPANY             c/o CT Corporation Systems
c/o CT Corporation System            28 Liberty Street
600 North 2nd Street, Suite 401      New York, NY 10005
Harrisburg, PA 17101




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MAUNE RAICHLE HARTLEY
FRENCH & MUDD, LLC
By: Jason Yampolsky, Esquire
Identification No. 324961
230 S. Broad Street, Suite 1010
Philadelphia, PA 19102
(800) 358-5922

Attorneys for Plaintiffs

                                                     :       COURT OF COMMON PLEA
JAMES EDWARD DOUGHERTY, III, and                     :
MICHELE A. DOUGHERTY, his wife                       :       PHILADELPHIA COUNTY
1466 Day Hollow Road                                 :
Owego, NY 13827                                              JUNE TERM, 2022

                              Plaintiffs,                    NO.

               vs.                                   :
                                                            ASBESTOS CASE
A.O. SMITH WATER PRODUCTS COMPANY :
et al.,
                                                            JURY TRIAL DEMANDED
                              Defendants.            :


                                   CIVIL ACTION COMPLAINT

       Plaintiffs incorporate by reference Plaintiffs' Master Long Form Complaint In Re:

Asbestos Litigation in Philadelphia County Court of Common Pleas, filed as of DECEMBER

'1'erm 1986, No. 8610-0001. Pursuant to an Order dated NOVEMBER 30, 1986, and signed by the

Honorable Richard B. Klein, the following Short Form Complaint is utilized in this asbestos action.

       1.      This Complaint involves the claims of the following persons:

               a)     Plaintiffs
                      Name:                  James Edward Dougherty, III
                      Address:               1466 Day Hollow Road
                                             Owego, NY 13827
                      Social Security:       xxx-xx-6062
                      Date of Birth:         8/10/1945

                      Name:                  Michele A. Dougherty



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                      Address:              1466 Day Hollow Road
                                            Owego, NY 13 827
                      Social Security:      xxx-xx-5751
                      Date of Birth:        10/31/1962


       2.      The Defendants are those companies listed in the caption.

       3.      Plaintiffs hereby incorporate by reference the following Counts from the Master

Long Form Complaint: Counts I, II, III, IV, VII, and X.

       4.      Plaintiff James Edward Dougherty, III's asbestos exposure is as follows:

               a.     From 1964 to 1966, Mr. Dougherty served in the United States Navy. He

                      was stationed on the USS Voorhis, first as a fireman and then as a boiler

                      technician. On a regular and frequent basis, Mr. Dougherty maintained,

                      inspected, repaired, and stood watch over the ship's boilers. He also
                                                                    ~
                      per,formed and/or was present and in close proximity while others

                      performed the following work on the above-mentioned defendants'

                      products: repairing, removing, and replacing asbestos-containing pumps,

                      valves, steam traps, compressors, turbines, evaporators, deaerating tanks,

                      air conditioning and refrigeration plants, generators, and motors. He also

                      performed and/or was present and in close proximity while others

                      performed the following work on the above-mentioned defendants'

                      products: installing and removing asbestos-containing pipe insulation,

                      gaskets, and packing.. The above-mentioned work with the above-

                      mentioned products created visible asbestos-containing dust in the air that

                      he inhaled.

               b.     From 1966 to 1993, Mr. Dougherty worked at the Trane Company in




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          Dunmore, Pennsylvania as an assembly man and press operator, among

          other things. The facility at which he worked manufactured heating and air

          conditioning units. He worked near the machine shop where lathes, milling

          machines, boring mills, and drill presses were operated and repaired. He

          also worked in close proximity to the maintenance shop where various

          pieces of equipment, including asbestos-containing motors, were repaired.

          His working conditions were dusty. The repair and maintenance of this

          equipment created asbestos-containing dust that he inhaled.

    C.    From 1994 to 1997, Mr. Dougherty worked at Schott North America, Inc.

          in Duryea, Pennsylvania. His job was to retrieve products from the batch

          room and then place products into high heat furnaces and then remove them

          from the furnaces after they were heated to varying temperatures for varying

          amounts of time. Mr. Dougherty was present and in close proximity while

          maintenance workers performed their duties, which included disassembly

          and repair of various pieces of equipment that may have contained asbestos.

          As a result, Mr. Dougherty more likely than not was exposed to asbestos-

          containing dust.

     d.   As a result of inhaling and being exposed to asbestos fibers frorn the above-

          mentioned defendants' products, and from his employment at Schott North

          America, Inc., Plaintiff developed mesothelioma.

     e.    Plaintiff worked with a number of the above-mentioned products that were

          sold or shipped through Philadelphia, Pennsylvania. The above-mentioned

           companies and defendants sold and purchased products from Philadelphia




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                      locations, negotiated contracts within Philadelphia, and used and/or

                      benefited from conducting business in Philadelphia.

       5.     Plaintiff James Edward Dougherty, III was diagnosed as having mesothelioma on

or about February 23, 2022. Plaintiff's mesothelioma was a direct and proximate result of his

exposure to asbestos. This exposure arose from his aforementioned work history.

       6.     Plaintiff's smoking history (if any):

              a.      none.

       7.     Plaintiff's wages during his last full year of employment were:

              To be supplied.

       8.     Plaintiff's dependent is: MICHELE A. DOUGHERTY

       9.     Employer Defendant Count

              The allegations set forth in Count VII in the Master Long Form Complaint In Re:

Asbestos Litigation are hereby made against the following employer: Defendant SCHOTT

NORTH AMERICA, INC., for whom Plaintiff was employed during the following time pursuant

to the case of Tooey v. AK Steel Corporation, 81 A.3d 851 (Pa. 2013).

              a.      As an employee of Schott North America, Inc. in Duryea, Pennsylvania,

                      working in Pennsylvania, Plaintiff more likely than not worked around

                      asbestos-containing products from 1994 to 1997. More likely than not,

                      Plaintiff was exposed to asbestos fibers on a regular basis. Plaintiff worked

                      around asbestos and asbestos-containing materials and products present and

                      being used throughout the Schott North America, Inc. facilities. His work

                      took him to various areas within the facilities.

       WHEREFORE, Plaintiffs demand judgment against Defendants jointly, severally and/or




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in the alternative, for such damages as may be permitted pursuant to the laws of Pennsylvania, in

the amount of Ten Million Dollars ($10,000,000.00) together with interest thereon, cost of suit and

attorneys' fees.

          COUNT AGAINST METROPOLITAN LIFE INSURANCE COMPANY

        10.     Plaintiffs incorporate the aforementioned paragraphs by reference hereto as fully

set forth herein.

        11.     In or about the year 1930, and at various times prior and subsequent thereto, up to

and including the present time, defendant Metropolitan Life Insurance Company undertook and

assumed a duty to provide the asbestos industry, the scientific community and company users of

asbestos with information, inspections, instructions, supervision, recommendations, assistance,

notices, reports, methods, findings, cautions, warnings, advice, designs, equipment, safeguards,

guidance and services to properly, adequately and reasonably provide safe working conditions, all

allegedly to preserve and protect the life, health and safety of employees exposed to asbestos,

including Plaintiff and his co-workers, and particularly to protect them from the dangerous and

defective properties of asbestos, asbestos products and compounds and/or other dangerous

substances at or about the workplace.

        12.     Plaintiffs aver that various employers and their employees, including Plaintiff and

scientists and others similarly situated, were dependent upon the undertakings of Metropolitan to

preserve and protect the life, health and safety of individuals, including Plaintiff, by not assisting

the said companies in selling dangerous products.

        13.     Metropolitan, by its active and passive negligence, failed to exercise the standard

of care and skill it was obliged to exercise by reason of its aforesaid undertakings and assumption

of duty, thereby causing, creating or permitting dangerous conditions and exposure to dangerous




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and defective substances; and thereby failing to properly safeguard Plaintiff and all others similarly

situated.

        14.      As a result of the aforesaid negligence of defendant Metropolitan, Plaintiff was

injured.

        WHEREFORE, Plaintiffs pray that this Honorable Court enter judgment on their behalf

against the defendants, both jointly and severally, in an amount of One Million Dollars

($1,000,000.00) plus interest as provided by law, and the cost of this action.

            COUNT AGAINST METROPOLITAN LIFE INSURANCE COMPANY

        15.      Plaintiffs incorporate the aforementioned paragraphs by reference hereto as fully

set forth herein.

        16.      For a number of years, Metropolitan provided insurance coverage for various

manufacturers of asbestos-containing products.

        17.      For a number of years, Dr. A.J. Lanza served as assistant medical director of

Metropolitan.

           18.   At all times relevant, the activities of Dr. Lanza hereinafter described were

undertaken as a servant, agent or employee of Metropolitan.

                 a.     Beginning in approximately 1934, Metropolitan Life Insurance
                        Company and certain asbestos producers and manufacturers
                        including Johns-Manville Corporation and Raybestos Manhattan,
                        through their agents, Vandiver Brown, attorney J.C. Hobart, Sumner
                        Simpson and J. Rohrbach, suggested to Dr. Anthony Lanza, as agent
                        of Metropolitan Life Insurance Company, that Lanza publish a sh.idy
                        on asbestos in which Lanza would affirmatively misrepresent
                        material facts about asbestos exposure and concerning the
                        seriousness of the disease processes, asbestosis and related diseases.
                        This was accomplished through intentional deletion of Lanza's
                        feeling of asbestosis as "fatal" and through other selective editing
                        that affirmatively misrepresented asbestos as causing diseases less
                        serious than they really were known to be. As a result, Lanza's study
                        was published in the medical literature in this misleading fashion in



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          1935. This fraudulent misrepresentation and fraudulent
          nondisclosure was motivated in part by a desire to influence
          proposed legislation to regulate asbestos exposure and to provide a
          defense in disputes involving Metropolitan as insurer.

    b.    In 1936, American Brake Block Corporation, Asbestos
          Manufacturing Company, Gatke Corporation, Johns-Manville
          Corporation, Keasbey & Mattison Company, Raybestos-Manhattan,
          Russell Manufacturing, Union Asbestos and Rubber Company, and
          United Gypsum Company, entered into an agreement with the
          Saranac Laboratories. Under this agreement, these companies
          acquired the power to decide what information Saranac Laboratories
          could publish about asbestos disease and could also control in what
          form such publications were to occur. This agreement gave these
          companies power to affirmatively misrepresent the results of the
          work at Saranac, and also gave these conspirators power to suppress
          material facts included in any study. On numerous occasions
          thereafter, these companies together with Metropolitan, exercised
          their power to prevent Saranac scientists from disclosing material
          scientific data, resulting in numerous misstatements of fact being
          made at scientific meetings.

     C.   On November 11, 1948, representatives of the following companies
          met at the headquarters of Johns-Manville Corporation: American
          Brake Block Division of American Brake and Shoe Foundry, Gatke
          Corporation, Keasbey & Mattison Company, Raybestos-Manhattan,
          Inc., Thermoid Company, Union Asbestos and Rubber Company,
          United States Gypsum Company and Metropolitan. U.S. Gypsum
          did not send a representative to the meeting, but instead authorized
          Vandiver Brown of Johns-Manville to represent its interest at the
          meeting and to take action on its behalf.

     d.   At this November 11, 1948 meeting, these companies and
          Metropolitan decided to exert their influence to materially alter and
          misrepresent material facts about the substance of research
          previously started by Dr. Leroy Gardner at the Saranac Laboratories.
          Dr. Gardner's research involved the carcinogenicity of asbestos in
          mice and also included an evaluation of the health effects of asbestos
          on humans with a critical review of the then existing standards of
          dust exposure for asbestos and asbestos products

     e.   At this meeting, these companies and Metropolitan and
          subsequently their agent, Dr. Vorwald, intentionally and
          affirmatively determined that Dr. Gardner's work should be edited
          to delete material facts about the cancer causing propensity of
          asbestos and the health effects of asbestos on humans and to delete



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                     the critique of the dust standards. This was published, as altered, in
                     the scientific literature. These companies and Metropolitan thereby
                     fraudulently misrepresented the risks of asbestos exposure to the
                     public, in general, scientists, and persons exposed to asbestos such
                     as the Plaintiff.

              f.     As a direct result of the actions as described above, Dr. Gardner's
                     edited work was published in the Journal of Industrial Hygiene,
                     AMA Archives of Industrial Hygiene and Occupational Health in
                     1951 in a form that stressed those portions of Dr. Gardner's work
                     that Metropolitan wished stressed, but which omitted references to
                     human asbestosis and cancer,.thereby fraudulently and affirmatively
                     misrepresenting the extent of risks. Metropolitan and the companies
                     it joined with affirmatively and deliberately disseminated this
                     misleading publication.

              g.     Such action constituted a material affirmative misrepresentation of
                     material facts involving Dr. Gardner's work and resulted in creating
                     an appearance that inhalation of asbestos was less of a health
                     problem than Dr. Gardner's unedited work indicated.

              h.     In-.1955, Johns-Manville, for itself and on behalf of;Metropolitan,
                     through their agent Kenneth Smith, caused to be published in the
                     AMA Archives of Industrial Health, an article entitled "Pulmonary
                     Disability In Asbestos Workers". This published study materially
                     altered the results of an earlier study in 1949 concerning the same
                     set of workers. This alteration of Dr. Smith's study constituted a
                     fraudulent and material representation about the extent of the risk
                     associated with asbestos inhalation.

              i.     In 1955, the National Cancer Institute held a meeting at which
                     Johns-Manville, individually and as an agent for Metropolitan and
                     A. Vorwald, as their- agent, affirmatively misrepresented that there
                     were no existing animal studies concerning the relationship between
                     asbestos exposure and cancer, when, in fact, Metropolitan was in
                     secret possession of several studies which demonstrated that
                     positive evidence did exist.

                     Metropolitan approved and ratified and furthered the previous acts
                     of Johns-Manville, Raybestos Manhattan, and A.J. Lanza.

       19.    The acts of Metropolitan as described above, constitute a fraudulent concealment

and/or a fraudulent misrepresentation which proximately caused injury to the Plaintiff in the

following manner:



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               a.      Metropolitan intended the ptiblication of false and misleading
                       reports and/or the nondisclosure of documented reports of health
                       hazards of asbestos, in order to:

                              Maintain a favorable atmosphere for the continued sale
                              and distribution of asbestos and asbestos-related
                              products;

                       ii.    Assist in the continued pecuniary gain through the control
                              and reduction of claims;

                       iii.    Influence proposed legislation to regulate asbestos
                               exposure;

                       iv.     Provide a defense in lawsuits brought for injury resulting
                               from asbestos disease.

               b.      Metropolitan intended reliance upon the published reports regarding
                       the safety of asbestos and asbestos-related products.

               C.      Plaintiff suffered injury as a direct and proximate result of the acts
                       alleged herein.

       20.     Metropolitan has, as previously stated, altered, influenced, and created significant

portions of inedical literature which are false and misleading statements concerning the dangers of

asbestos exposure and disease. In so doing, Metropolitan, and its aforesaid agents, provided a body

of inedical literature which, when relied upon by persons investigating such literature, would have

lead to a false impression of the dangers of asbestos exposure.

       21.     Additionally, the publication of such literature acted to inhibit the development of

the literature and effectively delayed the dissemination of accurate knowledge of the dangers.

Metropolitan owed a duty to the Plaintiff, and the public as a whole, when contributing to the

medical literature to do so in good faith and with the reasonable care expected of any professional

contributing to such literature; Metropolitan's failure to do so is willful and wanton negligence and

a separate intentional tort creating a duty to compensate the Plaintiff for injuries sustained as

approximate contributing result of the actions of Metropolitan Life Insurance Coinpany.



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        22.     As a direct and proximately result of the fraudulent concealment and/or fraudulent

representation by Metropolitan and its agents, Plaintiff suffered the diseases, injuries and damages

set forth in the foregoing paragraphs.

        WHEREFORE, Plaintiffs prays that this Honorable Court enter judgment on her behalf

against the defendants, both jointly and severally, in an amount of One Million Dollars

($1,000,000.00) plus interest as provided by law, and the cost of this action.


                      AIDING AND ABETTING COUNT AGAINST
                     METROPOLITAN LIFE INSURANCE COMPANY

        23.     Plaintiffs incorporate the aforementioned paragraphs by reference hereto as fully

set forth herein.

        24.     Defendant, Metropolitan Life Insurance Company, individually and in concert with

American Brake Block Corporation, Asbestos Manufacturing Company, Gatke Corporation,

Johns-Manville Corporation, Keasbey & Mattison Company, Raybestos-Manhattan, Russell

Manufacturing, Union Asbestos and Rubber Company, United Gypsum Company, Thermoid

Company and others knowingly agreed and conspired among themselves to engage in a course of

conduct that was reasonably likely to result in injury to Plaintiff.

        25.     Defendant, Metropolitan Life Insurance Company, knew or should have known that

the perversion of the scientific and medical literature as aforesaid would cause the harmful effects

of asbestos exposure and would cause Plaintiff injury.

        26.     Defendant, Metropolitan Life Insurance Company, gave substantial assistance

and/or encouragement to the conspirators and this aided and abetted their sale of asbestos products

in a defective and dangerous condition and their reduction and control of claims against them.

        27.     The actions of Metropolitan Life Insurance Company make it liable to Plaintiff




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pursuant to Section 876 of the Restatement of Torts (Second) since Metropolitan Life Insurance

Company has acted in concert with others to cause harm to the Plaintiff.

       28.      As a direct and proximate result of the actions of defendant, Metropolitan Life

Insurance Company, Plaintiff suffered serious bodily injury; endured great pain and suffering and

mental anguish; incurred; was otherwise damaged; and ultimately succumbed to his disease,

causing his death.

       WHEREFORE, Plaintiffs pray that this Honorable Court enter judgment on her behalf

against the Defendants, both jointly and severally, in an amount of One Million Dollars

($1,000,000.00) plus interest as provided by law, and the cost of this action.

                       MISREPRESENTATION COUNT AGAINST
                     METROPOLITAN LIFE INSURANCE COMPANY

       29.      Plaintiffs incorporate the aforementioned paragraphs by reference hereto as fully

set forth herein.

        30.     The actions of defendant Metropolitan Life Insurance Company as described above

constituted conscious misrepresentation involving risk of physical harm and/or negligent

misrepresentation involving risk of physical harm.

        31.     Metropolitan Life Insurance Company is liable to Plaintiffs for Plaintiff's injury

pursuant to Section 310 and 311 of the Restatement of Torts (Second).

                As a direct and proximate result of the actions of defendant, Metropolitan Life

Insurance Company, Plaintiff suffered serious bodily injury and death; endured and incurred

medical expenses; lost earnings and earning capacity; and was otherwise damaged.




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                            MAUNE RAICHLE HARTLEY
                            FRENCH & MUDD, LLC




                            BY:
                                  JASON YANPOLSKY, ESQUIRE
                                  Attorney forlPlaintiffs




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                                        VERIFICATION


         I, JAMES EDWARD DOUGHERTY, III, hereby state:

         1.    I am the Plaintiff in the foregoing action;

         2.   I verify that the statements made in the foregoing CIVIL ACTION COMPLAINT

              are true and correct to the best of my knowledge, information and belief; and

         3.   I understand that the statements in said CIVIL ACTION COMPLAINT are made

              subject to the penalties of 1S PA.C.S. 4904 relating to unsworn falsification to

              authorities.




    /
         -1 '7-2    Z                                JAMES EDWARD DO             HERT , III

Date(~




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